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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

HATTIE BRICE,

        Plaintiff,

-vs-                                       CASE NO.: 1:17-CV-04000-LMM

CAPITAL ONE BANK (USA), N.A.

        Defendant.
                                 /

                          NOTICE OF SETTLEMENT

       Plaintiff, Hattie Brice, by and through the undersigned counsel, hereby

notifies the Court that the parties have reached a settlement with regard to this case

and are presently drafting and finalizing the settlement agreement, and general

release or documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished this 15th day of February, 2018, via electronic mail to Joshua H.

Threadcraft, Esquire, 420 North 20th Street, Suite 3400, Birmingham Alabama

35203, at joshua.threadcraft@burr.com



                                          /s/Octavio “Tav” Gomez, Esquire
                                          Octavio “Tav” Gomez, Esquire
                                          Georgia Bar No.: 617963
                                          Morgan & Morgan, Tampa, P.A.
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